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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 9:20-cv-80008-DMM
SECURITIES AND EXCHANGE COMMISSION,

Plaintiff,
v.

STEVEN A. SCHWARTZ,

Defendant.

/

JUDGMENT OF PERMANENT INJUNCTION AND OTHER RELIEF
AGAINST DEFENDANT STEVEN A. SCHWARTZ

This cause comes before the Court upon the Order Granting Plaintiff Securities and
Exchange Commission’s Unopposed Motion for Entry of Consent Judgment Against Defendant
Steven A. Schwartz (the “Judgment”). By Consent of Defendant Steven A. Schwartz to Judgment
of Permanent Injunction and Other Relief (“Consent”), Schwartz has waived service of a summons
and the Complaint, entered a general appearance, consented to entry of this Judgment, waived
findings of fact and conclusions of law, and waived any right to appeal from this Judgment. (See
DE 3-1). The Court finds good cause exists for entry of the Judgment.

The Court further orders as follows:

I.
PERMANENT INJUNCTIVE RELIEF

A. Sections 17(a)(1) and (3) of the Securities Act of 1933
IT IS ORDERED AND ADJUDGED that Schwartz is permanently restrained and

enjoined from violating Sections 17(a)(1) and (3) of the Securities Act of 1933 (“Securities Act”)

(15 U.S.C. § 77q(a)(1) and (3)) in the offer or sale of any security by the use of any means or

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instruments of transportation or communication in interstate commerce or by use of the mails,
directly or indirectly:

(a) to employ any device, scheme, or artifice to defraud; or

(b) to engage in any transaction, practice, or course of business which operates or

would operate as a fraud or deceit upon the purchaser,

with respect to:

(1) any investment strategy or investment in securities,

(2) the prospects for success of any product or company,

(3) the use of investor funds, or

(4) compensation to any person.

IT IS FURTHER ORDERED AND ADJUDGED that, as provided in Federal Rule of
Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who receive actual
notice of this Judgment by personal service or otherwise: (a) Schwartz’s officers, agents, servants,
employees, and attorneys; and (b) other persons in active concert or participation with Schwartz
or with anyone described in (a).

B. Section 10(b) and Rules 10b-5(a) and (c) of the Securities Exchange Act of 1934

IT IS FURTHER ORDERED AND ADJUDGED that Schwartz is permanently
restrained and enjoined from violating, directly or indirectly, Section 10(b) of the Securities
Exchange Act of 1934 (“Exchange Act”) (15 U.S.C. § 78j(b)) and Rules 10b-5(a) and (c)
promulgated thereunder (17 C.F.R. § 240.10b-5(a) and (c)), by using any means or instrumentality
of interstate commerce, or of the mails, or of any facility of any national securities exchange, in
connection with the purchase or sale of any security:

(a) to employ any device, scheme, or artifice to defraud; or

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(b) to engage in any act, practice, or course of business which operates or would
operate as a fraud or deceit upon any person,

with respect to:

(1) any investment strategy or investment in securities,

(2) the prospects for success of any product or company,

(3) the use of investor funds, or

(4) compensation to any person.

IT IS FURTHER ORDERED AND ADJUDGED that, as provided in Federal Rule of
Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who receive actual
notice of this Judgment by personal service or otherwise: (a) Schwartz’s officers, agents, servants,
employees, and attorneys; and (b) other persons in active concert or participation with Schwartz
or with anyone described in (a).

Il.
CIVIL PENALTY

IT IS FURTHER ORDERED AND ADJUDGED that upon motion of the Commission,
the Court may order a civil penalty against Schwartz. In connection with the Commission’s motion
for a civil penalty, and at any hearing held on such a motion: (i) Schwartz will be precluded from
arguing that he did not violate the federal securities laws as alleged in the Complaint; (ii) Schwartz
may not challenge the validity of the Consent or this Judgment; (iii) solely for the purposes of such
motion, the allegations of the Complaint shall be accepted as and deemed true by the Court; and
(iv) the Court may determine the issues raised in the motion on the basis of affidavits, declarations,
excerpts of sworn deposition or investigative testimony, and documentary evidence, without
regard to the standards for summary judgment contained in Rule 56(c) of the Federal Rules of

Civil Procedure.

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Ill.

OFFICER AND DIRECTOR BAR

IT IS FURTHER ORDERED AND ADJUDGED that, pursuant to Section 21(d)(2) of
the Exchange Act, 15 U.S.C. § 78u(d)(2), and Section 20(e) of the Securities Act, 15 U.S.C.
§ 77t(e), Schwartz is prohibited from acting as an officer or director of any issuer that has a class
of securities registered pursuant to Section 12 of the Exchange Act, 15 U.S.C. § 781, or that is
required to file reports pursuant to Section 15(d) of the Exchange Act, 15 U.S.C. § 780(d).
IV.

INCORPORATION OF CONSENT

IT IS FURTHER ORDERED AND ADJUDGED that the Consent (DE 3-1) is
incorporated herein with the same force and effect as if fully set forth herein, and Schwartz shall
comply with all of the undertakings and agreements set forth therein.

V.

RETENTION OF JURISDICTION

IT IS FURTHER ORDERED AND ADJUDGED that this Court shall retain jurisdiction
of this matter and over Schwartz in order to implement and carry out the terms of this Judgment
and all Orders and Decrees that may be entered, to entertain any suitable application or motion for
additional relief within the jurisdiction of this Court, and to order any other relief that this Court

deems appropriate under the circumstances.

VI.

BANKRUPTCY NONDISCHARGEABILITY

IT IS FURTHER ORDERED AND ADJUDGED that for purposes of exceptions to
discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. § 523, the allegations in the

Complaint are true and admitted by Schwartz, and further, any debt for a civil penalty due by
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Schwartz under this Judgment or any other judgment, order, consent order, decree, or settlement
agreement entered in connection with this proceeding, is a debt for the violation by Schwartz of
the federal securities laws or any regulation or order issued under such laws, as set forth in Section
523(a)(19) of the Bankruptcy Code, 11 U.S.C. § 523(a)(19).

VII.

RULE 54(b) CERTIFICATION

There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules of Civil
Procedure, the Clerk is ordered to enter this Judgment forthwith and without further notice.
VIII.

CONCLUSION

Accordingly, it is hereby ORDERED and ADJUDGED that:

1. Consistent with this order, FINAL JUDGMENT is entered against Defendant Steven
A. Schwartz.

2. The Clerk of Court shall CLOSE THIS CASE.

3. The Clerk shall also DENY ALL pending motions AS MOOT.

SIGNED in Chambers at West Palm Beach, Florida, this LE January, 2020.

INNALD"M. MIDDLEBROOKS
UNITED STATES DISTRICT JUDGE
